          Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 1 of 8




                                                              ORt
                                                                     qIt~PIN CLARK'S OFFICE
                                                                              U.S D .C . Rome '\
                    IN THE UNITED STATES DISTRICT COURT                     /~ i3/~11~
                   FOR'I'HE NORTHERN DISTRICT OF GEORGIA                  gEp 2 2 Zp~
                               ROME DIVISION
                                                                     LUTHER      .    OMAS, Clerk
IN RE :                                                              By                Depuiy Clerk

TRI-STATE CREMATORY LITIGATION )                     MDL DOCKET NO. 1467

This relates to all actions.                  )


                       NOTICE OF INTENTION TO TAKE
                        VIDEOTAPE ORAL DEPOSITION

      YOU !\12E HEREBY NOTIFIED that, pursuant to the terms and provisions

of Fed . R. Civ . P . 26, et seg., on the 22nd day of September, 2003, Monday,

commencing at 2 :00 o'clock, p .m ., in the offices of Oarlock, Copeland, Semler &

Stair, LLP, Atlanta, Georgia, 30303, before an officer duly authorized by law to

administer oaths, the undersigned will proceed to take the videotape deposition of

Walter Spearman, for discovery, cross-examination, and all other purposes

allowed by law .

      Court reporting and videography services will be provided by Brown

Reporting,   1740 Peachtree Street, N.E ., Atlanta, Georgia 30309; telephone :

404 .876.8979; 800.637 .0293 ; facsimile : 404.876 .1269.




                                                                                       50 (a
         Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 2 of 8




       The Deponent is further requested, pursuant to Fed. R. Civ. P. 30(b)(1), to

produce at said deposition those documents and things listed as Exhibit "A" to the

Subpoena for Appearance at Deposition and for the Production of Documents

directed to Walter Spearman, a copy of which is attached hereto and incorporated

in its entirety herein.

       You are invited to attend and participate .

       This 12th day of September, 2003 .

                                  BRINSON, ASKEW, BERRY, SEIGLER,
                                  RICIIARDSON & DAMS, LLP



                                  By :            L'.'
                                         ~, J. nderson avis
                                            Georgia Ba   o .211077
                                            Lead and Liaison Counsel for Defendant
                                            Funeral Homes
The Omberg House
615 West First Street
Post Office Box 5513
Rome, Georgia 30162-5513
Telephone : 706.291 .8853
Facsimile : 706.234 .3574


                          [signatures continued on next page]
       Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 3 of 8




                                 Mary Katheri Greene
                                 Georgia Bar No. 661679
                                 Asha F . Jackson
                                 Georgia Bar No. 637679
                                 Counsel   for Franklin   Strickland Funeral
                                 Home

Oarlock, Copeland, Semler &
 Stair, LLP
285 Peachtree Center Avenue
2600 Marquis Two Tower
Atlanta, Georgia 30303-1235
Telephone : 404.522-8220
Facsimile : 404.523 .2345
        Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 4 of 8




                                    Exhibit "A"

1.     Any and all documents you reviewed in preparation for your deposition or
       in formulating any statements or opinions associated with this litigation.

2.     Any photographs you reviewed in preparation for your deposition or in
       formulating any statements or opinions in association with this litigation.

3.     Any medical records or reports you reviewed in preparation for your
       deposition or in formulating any statements or opinions in association with
       this litigation .

4.     Any transcripts of depositions you reviewed in preparation for your
       deposition or in formulating any statements or opinions in association with
       this litigation .

5.     Any statements or affidavits you reviewed in preparation for your
       deposition or in formulating any statements or opinions in association with
       this litigation .

6.     Any responses to interrogatories you reviewed in preparation for your
       deposition or in formulating any statements or opinions in association with
       this litigation .

7.     Any writings of any type you reviewed in preparation for your deposition or
       in formulating any statements or opinions in association with this litigation.

8.     Summaries of any depositions you reviewed .

9.     Videotapes you have reviewed with regard to Tri-State or related to Tri-
       State Crematory.

10.    Audiotapes, recordings, statements or affidavits you have given to anyone
       regarding Tri-State Crematory .

11 .   Copies of e-mails or statements from Plaintiffs, Plaintiff's counsel, experts,
        Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 5 of 8




       or other witnesses.

12.    Copies of letters, correspondence, or memos from Plaintiffs, Plaintiffs
       counsel, experts, whether testifying or consulting or other witnesses .

13 .   Any and all photographs, sketches, diagrams or images of the area of Tri-
       State Crematory prior to February 14, 2002.
        Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 6 of 8




                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing

Notice of Intention to Take Videotape Oral Deposition of Walter Spearman,

upon all parties to this matter by forwarding a true copy of same via U.S . Mail,

proper postage prepaid, addressed to the parties and/or counsel of record in

accordance with the attached service list.

Robert H. Smalley, III, Esq.
McCamy, Phillips, Tuggle & Fordham
PO Box 1105
Dalton, GA 30722-1105

McCracken Poston, Esq.
PO Box 988
Ringgold, GA 30736-0988

Frank E . Jenkins, III
Jenkins & Olson, P.C .
15 South Public Square
Cartersville, GA 30120-3350

      This 12th day of September, 2003 .




                                             Mary Katherine ¬r ene
                                             Georgia Bar No . 661679
                                             Asha F. Jackson
                                             Georgia Bar No. 637679
          Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 7 of 8




                                                            OR IGINALCLEWS OFFICE
                                                                            U .S .D .C . Rome

                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA                       SEP 2 2 2003
                               ROME DIVISION                         LUTH~ AS, Clerk
                                                                     By'  Deputy Clerk
IN RE : TRI-STATE                            )
CREMATORY LITIGATION                         )              MDL DOCKET NO .
                                                            1467

This relates to all actions .

           CERTIFICATE OF SERVICE PURSUANT TO RULE 26.4

       Pursuant to Rule 26, Fed . R. Civ . P., this is to certify that I have this date

served a true and correct copy of the following Notice of Intention to Take

Videotape     Oral     Deposition   of   Walter   Spearman     and    Subpoena         for

Appearance at Deposition upon all parties to this matter by depositing a true copy

of same in the U. S . Mail, proper postage prepaid, addressed to counsel of record in

accordance with the attached service list.

Robert H. Smalley, III, Esq.
McCamy, Phillips, Tuggle & Fordham
Post Office Box 1105
Dalton, GA 30722-1105

McCracken Poston, Esq .                               Frank E. Jenkins, III
Post Office Box 988                                   Jenkins & Olson, P .C.
Ringgold, GA 30736-0988                               15 Public Square
                                                      Cartersville, GA 30120
        Case 4:02-cv-00041-HLM Document 506 Filed 09/22/03 Page 8 of 8




      This 12th day of September 2003 .

                               BRINSON, ASKEW, BERRY, SEIGLER,
                               RICHARDSON & DAMS, LLP



                               By:
                                      J . ~derson avis
                                     ~~eorgia Bar No. 211077
                                      Lead and Liaison Counsel for Defendant
                                      Funeral Homes
The Omberg House
615 West First Street
Post Office Box 5513
Rome, Georgia 30162-5513
Telephone : 706.291 .8853
Facsimile: 706.234 .3574


                                      Mary Katber ne Greene
                                      Georgia Bar No. 661679
                                      Asha F . Jackson
                                      Georgia Bar No. 637679
                                      Counsel for Franklin Strickland Funeral
                                      Home

Oarlock, Copeland, Semler &
 Stair, LLP
285 Peachtree Center Avenue
2600 Marquis Two Tower
Atlanta, Georgia 30303-1235
Telephone : 404.522-8220
Facsimile : 404.523 .2345
